             Case 2:19-cv-00932-CDJ Document 1 Filed 03/05/19 Page 1 of 31
1




                           IN THE UNITED STATES DISTRICT COURT FOR
                            THE EASTERN DISTRICT OF PENNSYLVANIA

BRAD RUS H, a s ADMINIS TRATOR OF THE
ES TATE OF J EFFREY DENNIS , DECEAS ED,
                         P1aint
                                                                      Civii Action No. :
                                  v.

                                                                      J UR Y T R IAL DE MANDE D
THE CITY OF PHILADELPHIA and
OFFICER RICHARD NICOLETTI, in his
individual and official capacity,
                                  Defendants.



                                            NO T IC E O F R E MO VAL

        TO THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT
        FOR THE EASTERN DISTRICT OF PENNSYLVANIA:

        Defendant, O ffic e r R ic h a rd Nic o le tti ("De fe n d a n t Nic o le tti") b y a n d th ro u g h h is

unde rs igne d couns e l, Ma rs ha ll De nne he y Wa rne r Cole ma n & Goggin, P .C., a nd J os e ph J .

S a nta rone , Es quire , he re by re move the a bove -ca ptione d ma tte r to this Honora ble Court a nd

provide notice of s a me to the P la intiff. In s upport of the re mova l, De fe nda nt Nicole tti a ve rs a s

follows :

        1.       Plaintiff instituted this action by filing a Complaint in the Court of Common Pleas

of Philadelphia County on or about February 27, 2019. A true and correct copy of Plaintiffs

Complaint is attached hereto as Exhibit A.

        2.      P la intiffs Compla int wa s s e rve d on both the City of P hila de lphia ("De fe nda nt

City") a nd De fe nda nt Nicole tti on Fe brua ry27, 2019.

        3.      Defendant City consents to this removal.
                  Case 2:19-cv-00932-CDJ Document 1 Filed 03/05/19 Page 2 of 31
r
    1




             4.       As De fe nda nt Nicole tti wa s s e rve d on Fe brua ry 27, 2019, no Ans we r or othe r

    re s pons e to P la intiffs Compla int ha s be e n file d. In filing this Notice of Re mova l, De fe nda nt

    Nicole tti doe s not wa ive a ny de fe ns e or counte rcla im tha t ma y be a va ila ble to him.

             5.       This Notice of Re mova l is time ly file d purs ua nt to 28 U.S .C. § 1446(b) be ca us e it

    is tile d within thilty (30) da ys of Fe brua ry 27, 2019, the da te on which De fe nda nts we re s e rve d

    with P la intiffs Compla int.

             6.       P la intiffs Compla int a lle ge s , infe r a lia , tha t De fe nda nt Nicole tti us e d e xce s s ive

    force a ga ins t De ce de nt J e ffre y De nnis ("De ce de nt") while a tte mpting to a ppre he nd De ce de nt

    ne a r the inte rs e ction of He ge rma n S tre e t a nd P rince ton Ave nue in P hila de lphia on Augus t 20,

    2018. See Ex. A at TIT! 11-41, 114-119.

             7.       P la in tiffs Co mp la in t a s s e rts fe d e ra l cla ims u n d e r 4 2 U.S .C. § 1 9 8 3 a g a in s t

    De fe nda nt Nicole tti a nd De fe nda nt City. S e e id. a t1111114-119, 120-128.

             8.       The a bove -de s cribe d Civil Action is one ove r which this Honora ble Court ha s

    origina l juris diction be ca us e P la intiffs Compla int a ve rs a t le a s t one ca us e of a ction a ris ing out of

    the "Cons titution, la ws or tre a tis e s ofthe Unite d S ta te s ." 28 U.S .C. § 1331.

             9.       Accordingly, De fe nda nts ma y re move this a ction to the Unite d S ta te s Dis trict

    Court for the Ea s te rn Dis trict of P e rms ylva nia purs ua nt to 28 U.S .C. § 144l(a ).

             WHE R E F O R E , De fe nda nt Nicole tti re s pe ctfully re que s ts the a bove -ca ptione d a ction

    curre ntly pe nding in the Couit of Common P le a s of P hila de lphia County be re move d to this

    Honora ble Court.
      Case 2:19-cv-00932-CDJ Document 1 Filed 03/05/19 Page 3 of 31
1




                                      MARS HALL DENNEIIEY WARNER
                                      COLEMAN & GOGGIN



                                                . AnTARonE,.2s6'u1R3;
                                      Altorneyfor Defendant, (Micer Richard
                                      Nicoletti



    DATE: Ma rc h 5. 2019
           Case 2:19-cv-00932-CDJ Document 1 Filed 03/05/19 Page 4 of 31
\




                                     CERTIFICATE OF SERVICE

         I, Joseph J. Santarone, Esquire, attorney for Defendant Officer Richard Nicoletti, hereby

    celtify on this 5th day of March, 2019, that I served a true and correct copy of the foregoing

    Notice of Removal and all exhibits thereto upon the following counsel of record via e-mail:

                                               McEldrew Young
                                      James J. McEldrew, III, Esquire
                                            Daniel Purtell, Esquire
                                             John J. Coyle, Esquire
                                      123 S. Broad Street, Suite 2250
                                            Philadelphia, PA 19109
                                          jim@mceldrewyoung.com
                                       dpurtell@mceldrewy_oungcom
                                        jQ0yle@ @1df@wy0ung.cQm

                                               Merritt Law
                                          S. Lee Men'itt, Esquire
                                      123 S. Broad Street, Suite 2250
                                         Philadelphia, PA 19109
                                          s1m@merrittat1aw.com
                                           Counselfor Plaintw

                                     Armando J. Brigandi, Esquire
                                City of Philadelphia Law Department
                                     1515 Arch Street, 14th Floor
                                       Philadelphia, PA 19102
                          Counselfor Co-Defendant, The City ofPhiladelpl1ia

                                                         MARSHALL DENNEHEY WARNER
                                                         COLEMAN & GOGGIN




                                                     \     ._, - -_ _ _ . _ - _- .TAR()NE,, .
                                                         Aiforneyfor Defendant, Ojicer Richard
                                                         Nicoletti

        Dated: March 5, 2019
Case 2:19-cv-00932-CDJ Document 1 Filed 03/05/19 Page 5 of 31




         EXHIBIT A
                 Case 2:19-cv-00932-CDJ Document 1 Filed 03/05/19 Page 6 of 31
a




                                                                                                                                        '~<1: ¢



                                                                      ° ?4'4f»                                            4/%'1.@ 8§              ~\ \
                                                                                             8944 8          Filed £          A8 8 , b 4
                                                                                                                                       415.




                                                                                                                                               the
    McELDREW Y O U N G                                                                 MERRITT I@%W¢@                                I , ~c
                                                                                                                                         r ~ords
    James J. McE1drew, III, Esquire                                                    S. Lee Merritt, Esqai 1 ,.                            pm   ;r    ; I!
                                                                                                                                                       3 /2'


    Daniel Purtell, Esquire                                                            Attorney LD. NO.: 31438                                           r


    John J. Coyle, Esquire                                                             128 S. Broad Street,
    Attorney LD. no; 86411 / 510376 / 312084                                           Philadelphia, PA 19109
    ies s. Broad Street, Suite 2250                                                    (215) 54.5-8800
    Philadelphia, PA 19109                                                             s1m@merrittadLv.com
    (Q15)545-8800
    jim@.;r;celdrewyoung.com
    dpurt_q1l@mceldrevgyoungeom
    jcoyle@mcel_drewyoung.com                                                          A ttomeys for Plain68"


    BRAD RUSH, a s ADMINISTRATOR OF THE
    ESTATE OF J EFFREY DENNIS, DECEASED                                                 COURT OF COMMON PLEAS
    123 S. Broad Street, Suite 2250
    Philadelphia, PA 19109                                                              P HILADELP HIA COUNTY

                                                          pla intiffs ,
    v.
                                                                                        FEBRUARY TERM 2019
    THE CITY OF P HILADELP HIA,                                                         C ivil Ac tio n No .
    c/0 City of Phila de lphia La w De pa rtme nt
    1515 Arch Street - 14**\ Floor
    Philadelphia, PA 19102
                                                                                        MAJ OR J URY P ROGRAM
    OFFICER RICHARD NICOLETTI, in his
    official and individual capacity, c/o                                               J URY TRIAL DEMANDED
    City of Philadelphia Law Department
    1515 Arch Street - 14-**' Floor
    Philadelphia, PA 19102
                                                          Defendants.

                                                      NOTICE To DEFEN11
                          NOTICE                                                                        AW SO
     You have been sued In court. lf you wish to defend against the        Le han demandado n usted en ta cone. Sl usted qulere defenderse
    claims setforth in the following pages, you must take action within    de cstns dcmnndas expuestas en las paglnas slgulentes, usted tiene
     twenty (20) days nflcr this complaint and notice are served, by       velnte (20) dins dc plazo at partir de lu fecha de Ia demanda y la
    entering a written appearance personally or by attorney and tiling     nolilicnclon. Hace falla ascemar una CGIIlp8r€I'lClil cscrita o cn
    in writing with the court your defenses or objections to the cI8lms    persona o con un nbogado y entregar a la carte en forma escrlta
    sct forth against you. You are warned that If you fail to do so the    sus defensas o sus objeciones a las demands: en contra de su
    case may proceed without you and a judgment may be entered             persona. Sea avlsado que sl usted no se dellende, la carte mmara
    against you by the court without furtllls notice for any money         medldas y puede contlnuar In demandn en contra suya slr: previo
    claimed In the complaint of for :my othis elalnt or relief requested   avlso o notllicacion. Adcmas, la carte puede declder a favor del
    by the plalnttlll You may lose money or property or othls rights       demandanle y requlerc que usted cumpln con todas las pravlsiones
    important to you.                                                      dc esta demands. Ustcd puede perder dlnero o sus propiedades u
    You should rake this paper to your lmvyer at ance. Uyou do not have    otros derechos importantes para usted.
    a Iangver or cannotqgfaralone, go m or telephone the ojilee saforrlI   Lleve esra demanda a un abogado lmmedlnramenie. Sl no Ilene
    belmv to./Ind our whlse you can get Iegal help.                        abngado o si no Ilene el dlnera sujldeme de pagar ml servlclo. Vaya
                                                                           en persona 0 (lame par tele/'ana a la oflclna cuya dlrecclon .ve
               Philadelphia Bnr Association                                eucuenlra evcrira abnjo para averlguar donde se puede eoruegulr
                     Lawyer Referral                                       aslsrerxcla legal.
                 and information Scrvlce


                                                                                                                                   Ca s e ID; 190202728
       Case 2:19-cv-00932-CDJ Document 1 Filed 03/05/19 Page 7 of 31
I




                                           Asacinéion De Llcenciados Dc Flladelfia
          One Reading Center
    Philadelphia. Pexmsylvnnln 19107               Servicio De Referencia E
                                                      Infurmacinn Legal
             (215)238-6333
            TTY (215)451-6197                        One Reading Center
                                               Filadclt1a, Pennsylvania 19107
                                                        (215)238-6333
                                                     TI`Y (215)451-6197




                                                                                     Ca s e ID- 190202728
                   Case 2:19-cv-00932-CDJ Document 1 Filed 03/05/19 Page 8 of 31
4




     McELDREW YOUNG                                                              MERRITT LAW
     James I. McEldrew, III, Esquire                                             S. Lee Menftt, Esquire
     Daniel PMell, Esquire                                                       Attomey I.D. No.: 314891
     John J. Coyle, Esquire                                                      123 S. Broad Street, Suite 2250
     Attomey I.D. No.: 3641 I /310376 /312084                                    Philadelphia, PA 19109
     123 s. Broad Street, Suite 2250                                             (215) 545-8800
     Philadelphia, PA 19109                                                      s1m@merrittat1aw.com
     (215) 545-8800
     jim@mceldrLvyoung.com
     dpur@1@mceldrewyo3.1ng.com
     jcoyle@mceldrewy_oun.com                                                    Attorneysfor Plaintiff'

                                                                            •
                                                                            •

                                                                            a
     BRAD RUSH, as ADMINISTRATOR OF THE                                     a


     ESTATE OF JEFFREY DENNIS, DECEASED                                     9
                                                                            •     COURT OF COMMON PLEAS
                                                                            a
     123 S. Broad Street, Suite 2250                                        •


     Philadelphia, PA 19109                                                 •
                                                                            •
                                                                                  PHILADELPHIA COUNTY
                                                                            •



                                                    P la in tiffs ,
     v.                                                                           FEBRUARY TERM2019
                                                                            »
                                                                            •
     T H E C IT Y O F P H IL AD E L P H IA,                                 •
                                                                                  Civil Action No.
                                                                            •
     c /o City o f P h ila d e lp h ia La w De p a rh n e n t               •

                                                                            •
     1515 Arc h S tre e t - 14th Flo o r                                    •

                                                                            •
     P h ila d e lp h ia , P A 19102                                        9


                                                                                  MAJOR JURY PROGRAM
                                                                            •
     OFFICER RICHARD NICOLETTI, in his
     official and individual capacity, c/o
                                                                            O
                                                                            •     JURY TRIAL DEMANDED
                                                                            •
     City of Philadelphia Law Department                                    ¢
                                                                            •
     1515 Arch Street - 14"1 Floor                                          Q

                                                                            1
     Philadelphia, PA 19102
                                          Defendants.
                                                                        -
                                                CIVIL ACTION COMPLAINT

             NOW COMES Brad Rush, Esquire as duly appointed administrator of the Estate of Jeffrey

    Dennis, deceased, by and through chosen counsel Lee Merritt, Esquire, of Merritt Law and James J.

    McEldrew III, Esquire, Daniel Purtell, Esquire, and John J. Coyle, Esquire, of McEldrew Young,

    complaining of Defendants, the City of Philadelphia ("City"), more particularly the Philadelphia Police

    Department ("PPD"), by and through its agent and servant, Ofiicer Richard Nicoletti, ("Nicoletti"),


                                                                P a ge l of 23
                                                                                                                   Ca s e II); 190202728
                 Case 2:19-cv-00932-CDJ Document 1 Filed 03/05/19 Page 9 of 31
4




    individually and in his official capacity as a Philadelphia Police Officer, and in support thereof states the

    following:



                                          NATURE_OF THE ACTION

        1. On August20, 2018 Jeffrey Dennis was shot and killed by Philadelphia Police Department Officer

    Richard Nicoletti, who acted in an unreasonable and subjective manner, after PPD officers were directed

    to "box-in", "barricade" and/or "ram" Jeffiey Demiis with two unmarked police vehicles and surround

    him by six (6) unmarked, unidentified police officers. The best evidence of the shooting, the relevant

    surveillance video, can be found at the following URL [https://www.nbcphiladelphia.com/news/locaVNo-

    Chargqs-Against-Philadelphia-Police-Officer-Involved-In-Fatal~Shooting-501933221 .html1.

        2. This is an action brought by the Plaintiffagainst Defendants, the City of Philadelphia, and its agent

    and servant, Police Officer Richard Nicoletti for his use of excessive and deadly force under the color of

    state law resulting in the unlawful shooting death of Jef&ey Dennis ("Dennis") in violation of his rights

    under the Fourth Amendment of the United
                                          1983
                                             States
                                               .    Constitution secured pursuant to 42 U.S.C. §

       3. Plaintitf alleges that the City of Philadelphia and its policy-rndcer, Police Commissioner Richard

    Ross, Jr. ("Ross" or "Policymaker") failed to properly train, supervise, screen, discipline, transfer, counsel

    or otherwise control officers who are known, or who should have been known, to engage in the use of

    excessive force and/or deadly force, including those officers repeatedly accused of such acts. The

    Policymaker had a duty, but failed to implement and/or enforce policies, practices and procedures for the

    PPD that respected Jeffrey Dennis' constitutional rights. Defendant City and Ross's failure to adequately

    supervise, discipline, and train Defendant Nicoletti, failure to implement the necessary policies and

    procedures, and afhrmative implementation of unconstitutional policies caused Jeffrey Dennis's

    unwarranted and excruciating physical and mental anguish and death.


                                                    Page 2 of 23
                                                                                                    Case ID: I.90202'728
                 Case 2:19-cv-00932-CDJ Document 1 Filed 03/05/19 Page 10 of 31
I




        4. Defendant Nicoletti acted in an objectively unreasonable manner and disregarded the rights of

    J e ffre y De nnis , knowing tha t the City a nd P olice Com m is s ione r Ros s would a pprove a nd/or ra tify his

    actions.

        5. For these civil rights violations and other causes of action discussed herein, Plaintiff seeks redress

    and compensation for damages and the wrongfhl death of Jeffrey Dennis.




                                                          P AR T IE S

        6. Plaintiff; Brad Rush, is the duly appointed administrator for the Estate of Jeffiey Dennis, deceased,

    and is an adult individual with a principal place of business located at 123 S. Broad Street, Suite 2250,

    Philadelphia PA 19109.

        7. Plaintiff; Brad Rush, has been designated as Administrator of the Estate of Jeffrey Dennis,

    deceased, by the remaining parents and natural guardians of Jeffrey Dennis' three surviving minor

    childre n:

            a. Tasha Hinton, as parent and natural guardian of S.D.,

            b. Lis a Holla nd, a s pa re nt a nd na tura l gua rdia n of M.D., a nd,

            c. Tiffany Fortune, as parent and natural guardian of K.D.

        8. Defendant Officer Richard Nicoletti, is and/or was at all times acting under color of state law in

    the scope and course ofhis duties as a police officer with the Philadelphia Police Department. He is being

    s ue d in his individua l a nd offic ia l c a pa c ity a s a n e m ploye e of the P hila de lphia P olic e De pa rtm e nt.

    Defendant Nicoletti may be served via the City of Philadelphia Law Department, One Parkway Building,

    1515 Arch Street, 14"1 Floor, Philadelphia, PA 19102 or wherever he may be found. He is being sued in

    his individual and official capacity as an employee of the Philadelphia Police Department.




                                                          P age 3 of23
                                                                                                               Case UQ); 190202728
            Case 2:19-cv-00932-CDJ Document 1 Filed 03/05/19 Page 11 of 31




    9. Defendant City is a city of the first-class organized pursuant to the laws of the Commonwealth of

Pennsylvania and the Home Rule Charter. The City of Philadelphia operates die PPD, and along with

Police Commissioner Ross is responsible for the implementation of the police department's budget,

staffing, training, policies, procedures, practices, and customs. The City of Philadelphia may be served

via the City of Philadelphia Law Depanment, One Parkway Building, 1515 Arch Street, 14th Floor,

Philadelphia, PA 19102.




                                    JURISDICTION AND VENUE

    10. Jurisdiction and Venue are proper in this Honorable Court as Defendants' intentional torts and

otherwise violative conduct occurred in Philadelphia County.




          FACTS RELATED TO THE UNLAWFUL KILLING OF JEFFR§:;NENN1S

    ll. On or about, August 20, 2018 at approximately 3:30 p.m., six (6) men, driving two (2) separate

unmarked vehicles, followed or pursued Jeffrey Dennis as he drove past an address associated with a

police investigation.

   12. The men, among them Defendant Nicoletti, were plainciothes narcotics police officers and

believed Dennis to be a person of interest in an ongoing narcotics investigation.

   13. The plainclothes officers did not have an arrest warrant for Dennis.

   14. The plainclothes officers did not have any facts which would constitute probable cause to arrest

Dermis at the time they pursued him.

   15. Dennis did not commit any type of traffic violation to justify a stop of his vehicle.

    i6. At no time did probable cause exists that Jeffiiey Dennis had committed a forcible felony or that

he possessed a deadly weapon.



                                               Page 4 of 23
                                                                                               Ca s e ID: 190203728
              Case 2:19-cv-00932-CDJ Document 1 Filed 03/05/19 Page 12 of 31




    17. None the le s s , a fte r cla nde s tine purs uit of § e f'd'e y De nnis for m ultiple blocks , the m e n .- without

probabie cause, reasonable suspicion, or any lawful basis to do so - attempted to stop Dennis by illegally

"boxing in" and "ban*icading" his vehicle at the comer of Hegermen Street and Princeton Avenue in

Philadelphia.

    18. Pedestrian surveillance equipment from a local business captured Jeffrey Dennis traveling along

Hegermen Street approaching the intersection at Princeton Avenue.

    19. A dark colored Nissan Altima ("vehicle l") turned right onto Hegermen Street fiom Princeton

Ave traveling the wrong way- "boxed-in" and "bam'caded" the path of Dennis' vehicle.

    20. The dark colored Nissan did not display any markings, sirens, or distinctive lighting, identifying

it a s a police ve hicie .

    21. The occupants of "Vehicle 1" did not display any badges, uniforms, or other clothing identifying

the mse lve s a s la w e nforce me nt.

    22. Dennis, unaware ofthe identity ofthe men who were then "boxing-in" and "barricading" his path,

stopped his vehicle and began to reverse.

    23. A second unmarked car ("vehicle 2") pulled up directly behind him, also "boxing-in" and

"ba rrica ding" his pa th of re tre a t.

    24. "Ve hicle 2" a ls o fa ile d to dis pla y a ny m a rldngs , s ire ns or dis tinctive lighting tha t would ide ntify

it a s a police ve hicle .

    25. One of the occupants of "Vehicle 2" donned a black vest and the other wore what appeared to be

a badge around his neck. These men, however, remained to the rear of Dennis' vehicle and out ofhis line

of sight.

    26. Dennis maneuvered his vehicle forward and to the right at dmc same time as "Vehicle l" in &ont

ofhim moved tilrther into his path again "boxing-in" and "barricading" him.



                                                      Page 5 of 23
                                                                                                            Ca s e ID: 190202728
                        Case 2:19-cv-00932-CDJ Document 1 Filed 03/05/19 Page 13 of 31
    I


l




             27. Six unidentified men exited the two unmarked vehicles and began shouting profanity and

        brandishing firearms at the closed windows of Dennis' car.

             28. According to an independent witness, the men did not verbally identify themselves as police

        o iiic e rs .

             29. One plainclothes officer banged his handgun against the glass of Dennis' front passenger window

        and pointed the weapon rnenacingly into the car.

             30. A second plainclothes officer stnlck the driver side window with a metal object causing the glass

        to s hatter,

             31 . Dennis, in a panic perceiving an attack fiom unidentified armed men, continued to maneuver his

        vehicle forward and away from the assailing men albeit at a slow rate of speed.

             32. As Dennis moved forward, one of the uNidentified men reached through the broken glass and into

        dmc cabin of the vehicle.

             33. As Dennis' car continued in motion, the driver of "Vehicle l" inched his car forward obscuring

        the cle a r pa thwa y of the ma n re a ching into the ve hicle .

             34. The man immediately withdrew his hands from the interior of Dennis' vehicle and shuftled away.

        The man then walked around to the back of a parked vehicle on Hegermen Street and disengaged from

        the altercation.

             35. Continuing in his attempt to maneuver away 'fiom the attack by the unknown men, Dennis pulled

        his ca t' forwa rd a nd to the right.

             36. The driver of"Vehic1e 1" accelerated the car forward and "rammed" into the fiont driver side area

        of the Dennis' car- disabling the vehicle.

             37. With Dennis' vehicle completely immobilized, several men were observed holstering their

        weapons - an objective indication that any possible perception of a threat had resolved.



                                                              Page 6 of 23
                                                                                                     Ca s e ID; 190202728
                Case 2:19-cv-00932-CDJ Document 1 Filed 03/05/19 Page 14 of 31
I




                                                                                               looking
       38. Richard Nicolctti, howcvcr, continued to pace back and folth with his weapon drawn-

    fbr an opportunity to take za clear shot into the vchiclc.

       39. Once thc vehicle camo to a complete stop Nicoletti pointed his firearm directly at Dennis through

    the broken dniver side window.

                                                                                               weapon
        40. With Dennis just tbcl away f}~om Nicolctti- Dennis observed Nicolctti pointing thc

    directly at him and, according to an independent witness responds "you drawing!"

       41. Nicolclti then fired thrcc shots from point binnk range striking Dennis in the Iwad and chest, killing

    him.




                                       s~"\
                                      H
                                       'sX .3vv
                                              |

                                  x
                                                           1.
                                                                                                  a




                                   rea lu


        42. Nicolctti then holstercd his weapon and walked over to Dennis' vehicle and reached inside the

    cabin of Dennis' vehicle.

        43. Nicolctti thcn went to "Vehicle 2" parked to the rear of Dennis' vehicle and then returned to

    Dennis' vehicle and re-entcrcd the cabin through the passenger side door for an unknown purpose.

        44. Defendant Nicolctti was acting uncler thc color of state law when he shot and killed Dennis.

        45. Morcov cr, no reasonably compctsmt official could conclude that the actions of Defendant Nicolctti

    described herein did not vioialc Dcnnis's constitiltionul rights.




                                                      Page7 of 23
                                                                                                      C a e ID: 190202728
           Case 2:19-cv-00932-CDJ Document 1 Filed 03/05/19 Page 15 of 31




   46. No reasomtbly prudent police officer, under similar circumstances, could have believed that

Defendant Nicoletti's conduct wus justified, nor was the treatment of Dennis reasonable.

   47. There was nothing to indicate that the use of excessive and/or deadly force was justified.

   48. To the contrary, the objective actions of the other officers in the area indicated that the situation

had been controlled and that any possible perception of a threat had resolved,

   49. Jefti'ey Dennis posed no risk to Defendant Nicoletti or any other person when Defendant Nicoletti

shot Dennis three (3) times, killing him.




                                               Page 8 of 23
                                                                                               Case 11): 190202728
                   Case 2:19-cv-00932-CDJ Document 1 Filed 03/05/19 Page 16 of 31
J




                               PPD DIRECTIVE 9.4 in VEHICULAR PURSUITS

       50. Under directive 9.4 a "vehicle pursuit" is deiined as "[t]he use of a motor vehicle to chase, follow,

    or go afler a vehicle that has refused to stop."

       51. Philadelphia Police Department Directive 9.4 - Vehicular Pursuits requires the following:

              a. "l (A) (1) the primary consideration when participating in or supervising any pursuit is the
                   safety and welfare of the public, other officers, as well as the suspect(s). Every officer and
                   supervisor must always weigh the benefits of immediate capture with the risks inherent to the
                   pursuit itself."

        52. Under directive 9.4 a Philadelphia Police Officer is justified in initiating pursuit ondy when they

    are:

              a. "I (B) (1) (a) in close proximity to a suspect vehicle and believes a pursuit is necessary to
                   prevent the death or serious bodily injury of another person, or
              b . (b ) In close proximity to a suspect vehicle andbelievesBOTH:
                           i. (i) The pursuit is necessary to effect the arrest or prevent escape, AND
                          ii. (2) The officer has probable cause to believe that the person being pursued has
                              committed or attempted a forcible felony OR, has probable cause to believe
                              that the person being pursued possess a deadly weapon, other than the vehicle
                              itself."
           53. When considering whether a pursuit should be initiated, numerous factors are to be considered,

    specifically "4(A)(l)(b) Whether the suspect's identification and address are known, thereby making
                                                                               11

    available an alternate means of arrest (e.g. via an arrest warrant)..0 •

           54. During a vehicular pursuit, pursuant to PPD Directive 9.4 (3) (I) officers must maintain a "safe

    distance" of at least tive car lengths.

           55. Additionally, "[f]leeing vehicles will nOt be stopped under any circumstanees by the following

    techniques:

              a.       "3(O) (1) Boxing-In - Surrounding the fleeing vehicles with police vehicles, which are
                       then slowed to a sop with the fleeing vehicle."
              b.       "O (2) Ramming.-. The deliberate act ofhitting a fleeing vehicle with a police vehicle for
                       the purpose of forcing the fleeing vehicle off the road or into a tixed object."


                                                       P age 9 of23
                                                                                                    Case ID: 190202728
                 Case 2:19-cv-00932-CDJ Document 1 Filed 03/05/19 Page 17 of 31
I




            c.       "O (3)Roadblocks - The use ofbarricades, vehicles or other obstructions across a roadway
                     to stop a fleeing vehicle."
        56. Upon apprehension of the suspect, "4 (A) (5) Apprehend the suspect(s), or by ensuring that only

    the proper amount of force is used to make any arrests."

        57. The abject failure to comply with Directive 9.4 was a direct result of a systemic failure to train and

    supervise the officers involved in the unlawfill seizure and ldlling of Jeffrey Dennis, including but not

    limited to, Officer Nicoletti.

        58. De s pite the P P D Dire ctive , it is common pra ctice a mong P hila de lphia P olice Office rs to us e

    "boxing~in," "ramming," and "roadblock" techniques.

       59. Upon information and belief, this practice is particularly commonplace among narcotics teams and

undercover teams.


       60. Upon infomation and belief; the boxingin of Plaintiff in this case was ordered by the supervisor

of the narcotics team, iixrther evincing the PPD custom of utilizing these allegedly prohibited techniques.




                                     P P D DIRECTIVE 10.1 - US E OF FORCE

       61. In response the Philadelphia police department issues "Directive 10.1 -. Use of Force - Involving

the Discharge of Firearms", which states in relevant pan:

           a. "1 (A) It is the policy of the Philadelphia Police DepaMnent that officers hold the highest
               regard for the sanctity of human life, dignity, and liberty of all persons. The application
               of deadly force is a measure to be employed only in the most extreme circumstances and
               all lesser means of force have failed or could not be reasonably employed.
           b. 1 (B) The most serious act in which a police officer can engage during the course of their
               of'deial duties is the use of deadly force. The authority to carry and use firearms in the
               course of public service is an immense power, which comes with great responsibility.
           c.     l (C) Police Oflicers shall not use deadly force against another person, unless they have an
                 obiectivelv reasonable belief that they must protect themselves or another person from
                 death or serious bodily injury. Further, an officer is not justified in using deadly force at


                                                    Page 10 0 f 2 3
                                                                                                     Ca se ID; 190202728
                 Case 2:19-cv-00932-CDJ Document 1 Filed 03/05/19 Page 18 of 31
I




                 any po'mt in time when there is no longer an objectively reasonable belief that the suspect
                 is dangerous, even if deadly force would have been justified at an earlier point 'm time."
       62. The directive defines "objectively reasonable" as where "an ofiicer's belief that they must protect

    themselves or others from death or serious bodily injury is compared and weighed against what a

    reasonable or rational officer would have believed under similar circumstances."

       63. In maldng this determination the "totality of the circumstances" must be considered, with dmree

    factors are identified as:

           a, "(2)(A)(l) the severity of the crime at issue.
           b. (2)(A)(2) whether the suspect poses an immediate threat to the safety of the officers of or
               others,
            c. (2)(A)(3) whether the suspect is actively resisting arrest or attempting to evade arrest by flight."
        64. Directive 10.1 specifically notes that "...flight alone would not justify the use of deadly force."

        65. Deadly force, such as shooting a non» violent suspect three (3) times ii'om point blank range is only

    "authorized when the ofticer has an objectively reasonable belief that they must protect themselves or

    another person from the immediate threat of death or serious bodily injury."

        66. When considering the use or potential use ofdeadly force, officers are specifically prohibited from

    the following:

            a.   "E. Police officers shall ensure their actions do not precipitate the use of deadly force by
                 placing themselves or others in jeopardy by taking unnecessary, overly aggressive, or
                 improper actions. It is often a tactically superior police procedure to withdraw [or not
                 engage], take cover or reposition, rather than the immediate use of force."
            b. "H. Police officers shall not discharge their firearms AT a vehicle unless a person in the
               vehicle is immediately threatening the officer or another person with deadly force by
               means other than the vehicle (e.g., officers or civilians are being fired upon by the occupants
               of the vehicle).
                  iii.       l . A moving vehicle alone shall not p_resumptivelv constitute 8 threat-that
                 iustifies an officer's use of deadlv force.
                  iv.        2. Officers shall not move into or remain in the path of a moving vehicle. Moving
                 into or remaining in the path of a moving vehicle, whether deliberate or inadvertent,
                 SHALL NOT be justification for discharging a firearm at the vehicle or any of its
                 occupants. An officer in the path of an approaching vehicle shall attempt to move to a position
                 of safety rather than discharging a tirearrn at the vehicle or any of the occupants of the vehicle.

                                                     P a g e 11 o f23
                                                                                                      Ca se ID; 19020? 728
               Case 2:19-cv-00932-CDJ Document 1 Filed 03/05/19 Page 19 of 31
L




              NOTE: An officer should never place themselves or another person in jeopardy in an attempt
              to stop a vehicle.
                 v.        3. The prohibitions regarding the discharge of a iireann at or from a moving vehicle
               exist for the following reasons:
                            1.     a. To avoid unnecessarily endangering innocent persons, both when inside
                        the vehicle and in the vicinity.
                            2.     b. Bullets fired at a moving vehicle are extremely unlikely to disable or stop
                        the vehicle.
                            3.    c. Disabling the driver of a moving vehicle creates unpredictable
                        circumstances that may cause the vehicle to crash and injure other ofhcers or innocent
                        bystanders.
                            4.     d. Moving to cover in order to gain and maintain a superior tactical
                        advantage maximizes officer and public safety while minimizing the need for deadly
                        or potentially deadly force.
                            5.      NOTE: Barring exigent circumstances, (e.g., the driver is unconscious and
                        the motor is still running), an officer shall never reach into an occupied vehicle in
                        an attempt to shut off the engine or to recover evidence, since this has been known
                        to result in serious injury to officers."
       67. The abject failure to comply with directive 10.1 was a direct result of a systemic failure to train

    and supervise the officers involved in the unlawful killing of Jefliey Dennis.




                        FAILURES OF THE PHILAQELPHLA P_OLICE QEPARTMENT

       68, Between 2007 and2013 Philadelphia police officers shot more than four hundred (400) people.

        69. In August of 2013, the Philadelphia Police Department asked the Department of Justice ("DOJ")

    to intervene and investigate the institutional policies and practices that resulted in the high incidence of

    police shootings.

        70. On March 24, 2015 the Department of Justice issued their report entitled "An Assessment of

    Deadly Force in the Philadelphia Police Department."

        71. Of relevant note, the DOJ identified that between 2007 and 2013, roughly 8% of officer involved

    shootings (30 incidents) involved moving vehicles.



                                                    Page 12 of 23
                                                                                                    Case ID: 1902027.28
                      Case 2:19-cv-00932-CDJ Document 1 Filed 03/05/19 Page 20 of 31
      4




             72. Between the request for DOJ involvement, and the issuance of the DOJ report an additional four

          (4) officer involved shootings of a moving vehicle occurred.

             73. Since the issuance of the DOJ report and subsequent PPD directives, an additional four (4)

          incidents of officers shooting into moving vehicles have occurred .- totaling thirty-eight instances since

          2007, including the unlawful killing of Jeffrey Dennis.

             74. The conclusion of the DOJ was that "[t]he depart1nent's policy does not provide enough limitation

          on this practice"

             75. The recommendation of the DOJ was that "[t]he PPD should amend its policy and include a

          stronger prohibition on shooting at moving vehicles."

              76. Additionally, the DOJ Report, noted the following:

                 a. PPD officers do not receive a regular, consistent training on the department's deadly force
                     policy;
                 b. PPD officers are not adequately trained on the use of deadly force,
                 c. PPD's use of force polices are fragmented and confusing;
                 d. PPD officers are not provided sufficient altematives to the use of deadly force,
                  e. PPD officers are not adequately trained on techniques to de-escalate citizen encounters and
                     thus reduce the use of deadly force, -
PPD's disciplinary
               £ mechanism is inconsistent, subject to chronic                            delays, and &'ustrated by
                   inadequate investigations ,
                  g. Even in cases where officers were found to have violated department policy during a shooting
                      incident, 73% of those officers were not suspended or terminated, and
                  h. In a city where Blacks and Whites each amount to 45% of the population, almost 60% of the
                      officers involved in shootings from 2007 -2013 were White, while 81% ofthe involved suspects
                      were Black.                           .
              77. The DOJ Report is substantive evidence of the City's practice of failing to properly train and

          discipline ofhcers.

              78. The DOJ Report coupled with the more than four hundred (400) police shootings including thirty

          eight (38) involving moving vehicles sufficiently put policymakers on notice ofthe need for more or better

          training.

                                                         P a ge 13 of 23
                                                                                                       Case ID: 190202728
              Case 2:19-cv-00932-CDJ Document 1 Filed 03/05/19 Page 21 of 31




    79. Despite this notice, the City failed to adequately implement the DOJ's recommendations.

    80. The City's failure to properly train, supervise, and/or discipline officers, including but not limited

to Officer Nicoletti, was a substantial factor in causing the death of Jeffiey Dennis.

    81. The City's deliberate indifference, evidenced by its failure to take appropriate action in response

to the DO5's report to reduce the number ofpolice shootings genera1ly and shootings into moving vehicles

s pe cifica lly, wa s a m oving force in the de a th of J e fiie y De nnis .

    82. The City's re fus a l or fa ilure to dis cipline office rs who viola te d de pa rtm e nt policy is we ll known

to th e m e m b e rs o f th e P P D.

    83. Additionally, PPD officers are aware that even if they are terminated or disciplined, the City's

policy ofdiscipline arbitration will likely reverse any instituted discipline.

    84. The reversal ofdiscipline though the City's arbitration process is commonplace, examples include,

inter alia:

         a. Cyrus Mann - Mann shot three (3) individuals in just over three (3) years, with the final
             shooting in 2014 proving to be fatal. The final shooting, which involved Mann discharging
             his firearm into a moving vehicle, prompted then Commissioner Charles Ramsey to terminate
             Mann. However, the City's discipline arbitration procedure resulted in Mann being reinstated,
             receiving back pay, and having his disciplinary record purged of any and all findings of
             misconduct related to the matter.
         b. Six Narcotics Field Unit Officers - Michael Spicer, along with five (5) of his colleagues on
             the Narcotics Field Unit, was arrested by federal authorities and charged with a variety of
             charges including corruption. Then Police Commissioner Charles Ramsey terminated the
             officers calling the situation one of the worst comiption cases he's ever seen. However, the
             City's arbitration process reinstated all six (6) officers and awarded them $90,000 in back pay.
          c. Jonathan Josey - Josey was terminated after he sucker punched a woman on video at the Puerto
              Rican Day Parade in 2012. Josey invoked the City's arbitration process, was reinstated, and
              retained his rank.
     85. The Philadelphia Police Advisory Commission ("PAC") is the official civilian oversight agency

of the City of P hila de lphia for the P hila de lphia P olice De pa rtme nt.

     86. In 2014, the PAC completed an investigation into the City's arbitration process by reviewing

twenty-six (26) cases where officers were terminated for conduct ranging from domestic incidents and

                                                       P a ge 14 of 23
                                                                                                        Ca s e ID: 190202728
                    Case 2:19-cv-00932-CDJ Document 1 Filed 03/05/19 Page 22 of 31
    l


1




        retail thei° c to excessive force and on-the-job intoxication. Ofthose twenty-six (26) terminations, the City's

        arbitration process resulted in 19 officers (73%) being reinstated.

            87. The P AC conclude d tha t "[a ]rbitra tions involving P hila de lphia police office rs , pa rticula rly thos e

        fired for serious misconduct, have been a source of 'd'ustration and public scrutiny for more than three

        decades," and recommended the City conduct and in-depth review of why police officexs fired from the

        department were so frequently reinstated through zsrbitration.

            88. Police Commissioner Richard Ross has acknowledged that the City's discipline arbitration

        procedure results in the inability to remov e bad officers 80m the police force, stating: "[t]here are

        occasions that you are {i'ustrated...because you'll get people who get their jobs back and you are

        completely baffled and dismayed by it."

            89. Commissioner Ross has further noted the damage it does to community police relations stating:

        "[p]o1ice chiefs struggle to maintain tnxst and legitimacy in their respective communities, and it can be

        difficult to do that in cases when the community sees an officer or officers dismissed - and then they are

        ultimately brought back."

            90. The re fus a l or fa ilure to dis cipline office rs for mis conduct, couple d with the City's a rbitra tion

        process which practically guarantees any discipline will be overturned, combine to create an environment

        where officers know they will face no repercussions for inappropriate behavior.

            91. The City also has a history of failing to properly train plainclothes officers to identify themselves

        or otherwise properly interact with individuals.

            92. In April of 2014, pla inclothe s office rs s hot a pizza de live ry boy na me d P hillipe Holla nd in the

        head after failing to identify themselves.




                                                            Page 15 of23
                                                                                                                      ID: 190202728
                Case 2:19-cv-00932-CDJ Document 1 Filed 03/05/19 Page 23 of 31
I




       93. Similar to this matter, the plainclothes officers lacked probable cause to stop Holland and

    a pproa che d him without prope rly ide ntifying the ms e lve s .   Whe n Holla nd a tte mpte d to fle e the

    plainclothes officers in his vehicle, the officers opened fire strildng Holland in the head.

       94. A civil lawsuit was filed resulting from that incident, and as part of the settlement agreement

    reached in January of 2017, the City agreed to institute new training protocols for plainclothes officers'

    dress and behavior to make it clear they are police. See Whelan, A. A Police Shooting So Wrong that

    Philadelphia Agreed to the Largest Settlement in Department History. Philly.com (January6, 2017).

       95. Despite knowledge ofthe need to institute new training and protocols, upon infomation and belief,

    the City failed to properly implement a comprehensive training program and failed to train the undercover

    officers involved in the incident that led to the fatal shooting of Dennis.

        96. The deliberate indifference to the need to implement new comprehensive training programs was a

    moving force in the fatal shooting of Jef8ey Dennis.

        97. Upon information and belief, Defendant Nicoletti has been the subject of complaints and was

    otherwise previously investigated by the PPD for incidents involving unlawtill stops, excessive use of

    force, unprofessional conduct, and discharging his firea1m.

        98. The failure to properly investigate or discipline Defendant Nicoletti conveyed a tacit endorsement

    ofhis ina ppropria te a nd unia wfixl conduct.

        99. This failure to properly investigate and discipline Defendant Nicoletti was a moving force in the

    death of Jeffrey Dennis.




                                                     P a ge 1 6 of 23
                                                                                                   Case ID: 190202728
                Case 2:19-cv-00932-CDJ Document 1 Filed 03/05/19 Page 24 of 31
s




                                          THE LIFE OF JEFFREY DENNIS

         100.      Jefliey Dennis was thirty-six (36) years old when he was killed by Defendant Nicoletti.

         101.      Dennis was loved by this three (3) surviving minor children, recent fiancé , and tight knit

    extended family. He was in good health, with a reasonable expectancy of living at least forty-eight (48)

    more years to age eighty-four (84).

         102.      During his lifetime, Dennis was an active parent and a benefit to his community as a

    football coach. He gave support, advice, counsel, comfort, care, and protection to his family.

         103.      Dennis was a hard-working man. At the time of his killing, he was employed, working at

    the Tastykake factory.

         104.      Jeffrey was a significant source ofhnancial and emotional support to his three (3) children.

    His daughter S.D. resided with Dennis at the time of his death.

         105.      As a direct and proximate result of the Defendants' conduct, Plaintiffs beneficiaries have

    sustained substantial damages, pecuniary loss, and the irreplaceable loss of love and support from their

    fa the r.




                                          WRONGFU.LDE4grH AQTION

         106.      Plaintiff; Brad Rush, as appointed by the parents and natural guardian ofthe minor children

    ofJeffrey Dennis, raised the Estate of Jeffrey Dennis, Elo number A5030-2018 on December 14, 2018.

         107.      Plaintiff] Brad Rush, as Administrator of the Estate of Jeffrey Dennis, deceased, hereby

    brings
     830l (the
           Wrongful
               Pennsylvania
                    Death claims
                            Wrongful
                                 pursuant
                                     DeathtoStatute)
                                             42 Pa.C.S. §

    and Pa.R.C.P. 2202(a), on behalf of all those persons entitled by law to recover damages as a result of the

    wrongtixl death ofJef`&ey Dennis.




                                                  Page 17 of 23
                                                                                                 Ca s e ID: 190202728
               Case 2:19-cv-00932-CDJ Document 1 Filed 03/05/19 Page 25 of 31
\




        108.       The names and address of all persons legally entitled to recover due to the wrongfixl death

    of Jeffrey Dennis are:

           a. Ta s ha Hinton, a s p/n/g of S .D., a minor
               6014 Allm a n S tre e t
               P hila de lphia , P A 19142

           b . Lis a Ho lla n d , a s p/n/g of M.D., a m inor
                3352 Dis s ton S tre e t
                P hila de lphia , P A 19149

           c. Tiffa ny F ortune , a s p/n/g of K.D., a m inor
               100 W. Montgom e ry Ave nue , Unit 7
               Ardm ore , P A 19003

        109.       No other action has been brought to recover for Mr. Jeffrey Dennis' death under the

    aforementioned statute(s).

        110.       Plaintiff claims all available damages under the Pennsylvania Wrongful Death Statute for

    financial contributions and the loss of future services, support, society, comfort, affection, guidance,

    tutelage, and contribution that the Plaintiffs decedent, Jeffrey Dennis, would have rendered to the

    wrongful death beneficiaries but for her traumatic, untimely and unnatural death occurring as a result of

    the medical treatment which is subj ect to the present litigation.

        111.       Plaintiff claims damages for payment for all medical bills and/or expenses.

        112.       Plaintiff claims damages for payment of fhneral and burial expenses.



                                                 SURVIVAL AC1J ON

        113.       Plaintiff also brings a Survival Action under the Pennsylvania Survival Statute, 42 Pa.C.S.

    §

    not limited to, loss of income both past and future income potential, as well as, pain and suffering prior to




                                                       Page 18 ot`23
                                                                                                   Ca s e ID; 190202728
            Case 2:19-cv-00932-CDJ Document 1 Filed 03/05/19 Page 26 of 31




death, and for emotional distress suffered by Plaintiff's decedent, Jefliey Dennis, fiom the initiation of

the assault upon him until the ultimate cause of his death.



                       COUNT 1: 42 U.s .c . § 1983 EXCES S IYE FORCE
                  AG AINS T DE F E NDANT, O F F ICE R RICHARD NICO LE TTI,
                     INDIVIDUALLY AND IN HIS O F F IC IAL C AP AC ITY

       114.    Plaintiff hereby incorporates all preceding paragraphs as if fully stated herein.

       115. Plaintiff would show that Defendant Nicoletti's actions on the occasion in question were

wrongful, maliciousand reckless in depriving Dennisofhis constitutional rights.

       116.    Plaintiff would show that Defendant Nicoletti failed to act as an objectively reasonable

officer would have acted in the same or similar circumstances. That is, Defendant Nicoletti, without legal

or necessary justification or the need to do so, used excessive and deadly force as described above and

killed Jeft?ey Dennis.

       117.    Plaintiff would show that Defendant Nicoletti denied Dennis of his right to be free from

the use of excessive force in violation of the 4th Amendment to the United States Constitution.

       118.    The force used by Defendant Nicoletti was objectively unnecessary, excessive and

unreasonable under the circumstances, as Dennis did not pose an immediate threat to the safety of

Defendant Nicoletti or others. Defendant Nicoletti embarked on a willful, malieious, reckless and

outrageous course ofconduct that was intended to cause and, in fact did cause Dennis' death and plaintiffs

to suffer extreme and severe mental and emotional distress, anxiety, terror and agony.

        119.   Plaintiff seeks suwival damages, as stated above, including for the nature and extent of

Decedent's injuries, pre-death pain and suffering, emotional distress, and loss of life and enjoyment of

life, as well as all available wrongful death damages available under the law.




                                               P a ge 19 of 23
                                                                                               Ca se ID: 190202728
                           Case 2:19-cv-00932-CDJ Document 1 Filed 03/05/19 Page 27 of 31
           \


    6




                      WI-IEREFORE, Plaintiff demands judgment in his favor, and against Defendant Nicoletti

in excess of pursuant
             One Hundred
                      to 42 and
                            U.S.C.
                                Fifty§ Thousand Dollars

               ($150,000.00), including interest, delay damages, costs of suit, general and specific damages, including

               both survival and wrongful death damages, exemplary damages as provided by law, attorneys' fees under

               U.S.C. 1985 and 1988, and any other remedies legally appropriate.



                                            COUNT II: MUNICIP AL uA_1;;L1Ty
                                   AGAINS T DEFENDANT, THE CITY OF P HILADELP HIA

                      120.    Plaintiff hereby incorporates all preceding paragraphs as if fillly stated herein.

                      121.    The conduct of Defendant Nicoletti as set forth in the preceding paragraphs evinces the

               excessive and unreasonable use of force in violation of Jeffrey Dennis' constitutional rights.

                      122.    The conduct s e t forth he re in, a s we ll a s the tra ining a nd dis ciplina ry fa ilure s of the

               Philadelphia Police Department demonstrates that the City of Philadelphia failed to properly train officers

               on the probable cause and reasonable suspicion to stop or otherwise detain a citizen, the use of deadly

               force, the excessive use of force, identiiication of an actual or imminent threat of death or serious bodily

               injury, techniques for detaining individuals in motor vehicles,approachingindividuals in motor vehicles,

               interactions between plainclothes officers and members of the public, and proper identification by

               plainclothes officers which was a moving force in the deprivation ofJef&ey Dennis's constitutional rights.

                      123.    Prior to August 20, 2018, the Philadelphia Police Department knew or should have known

               of these training failures through the Department of Justice report, complaints Filed against PPD oflicers,

               civil lawsuits, and settlements, among other means.

                      124.    The conduct set forth herein, as well as the training and disciplinary failures of the.

               Philadelphia Police Department demonstrates that the City of Philadelphia failed to enforce the written

               policies regarding probable cause and reasonable suspicion to stop or otherwise detain a citizen, die use

                                                                Page 20 o f23
                                                                                                                   Ca se ID: 199202728
                  Case 2:19-cv-00932-CDJ Document 1 Filed 03/05/19 Page 28 of 31
\




    ofdeadly force, the excessive use of force, identiiication of an actual or imminent threat ofdeath or serious

    bodily injury, techniques for detaining individuals in motor vehicles, approaching individuals in motor

    vehicles, interactions between plainclothes ofticers and members of the public, and proper identification

    by plainclothes officers which was a moving force in the deprivation of Jefti° ey Dennis' constitutional

    rights .

               125.   The conduct set forth herein, as well as the supervision and disciplinary failures of the

    P hila de lphia P oiic e De pa rtme nt de mons tra te s tha t the City of P hila de lphia fa ile d to s upe rvis e a nd

    discipline Police Officers who use excessive force, and by doing so communicated tacit approval of the

    unlawfill and unconstitutional excessive use of force, particularly in shooting incidents, which was a

    moving force in the deprivation of Jef8'ey Dennis's constitutionai rights.

               126.   The conduct s e t forth he re in, a s we ll a s the s upe rvis ion a nd dis ciplina ry fa ilure s of the

    Philadelphia Police Department demonstrates that the City of Philadelphia failed to supervise and

    discipline Defendant Nicoletti, and by doing so communicated tacit approv al of his unlawful and

    unconstitutional behavior which was a moving force in the deprivation of Jeffrey Dennis's constitutional

    rights .

                                                                                                  plaintiffs
               127.   By reason o f th e a fore me ntione d policie s and practices of Defendant,

    beneiiciaries experienced severe pain and suffering and the loss of their father, for which they are entitled

    to recover dama es. The aforementioned acts and omissions also caused decedent'sPain and sufferin8,

    loss of enjoyment of life, and death.

               128.   Plaintiff seeks survival damages, as stated above, including for the nature and extent of

    Decedent's injuries, pre-death pain and suffering, emotional distress, and loss of life and enjoyment of

    life, as well as all available wrongful death damages available under the law.




                                                          Page 21 of 23
                                                                                                               Ca s e ID: 190202728
                Case 2:19-cv-00932-CDJ Document 1 Filed 03/05/19 Page 29 of 31
I




             WHEREFGRE, Plaintiff demands judgment in his favor, and against Defendant the City of

    Philadelphia pursuant to 42 U.S.C. § 1983, in an amount in excess of One Hundred and Fifty Thousand

    Dollars ($l50,000.00), including interest, delay damages, costs of suit, general and specific damages,

    including both survival and wrongful death damages, exemplary damages as provided by law, attomeys'

    fees under U.S.C. 1985 and 1988, and any otherdamages legally appropriate at the time ofjury trial.




                                   COUNT III - ASSAULT AND BATTERY
                                   AGAINST DEFENDANT NICOLLETTI

             129.   Plaintiff hereby incorporates all preceding paragraphs as if fully stated herein.

             130.   At or about the dates and places alleged herein, Defendant Nicoletti, while acting within

    the course and scope ofhis duties as a Police Officers for the PPD, without provocation, warrant, necessity,

    or legal justification, assaulted and battered Jeffrey Dennis by pointing his gun at Dennis and shooting

    him at least three (3) times, thereby causing Dennis's injuries and death as herein described.

             131.   Plaintiff seeks survival damages, as stated above, including for the nature and extent of

    Decedent's injuries, pre-death pain and suffering, emotional distress, and loss of life and enjoyment of

    life, as well as all available wrongful death damages available under the law.

             WHEREFORE, Plaintiff demands judgment in his favor, and against Defendant Nicoletti, 'm an

    amount in excess of One Hundred and Fifty Thousand Dollars ($150,000.00), including interest, delay

    damages, costs of suit, general and specific damages, including both survival and wrongful death damages,

    exemplary damages as provided by law, and any other damages legally appropriate at the time ofjury

    trial.

                         \




                                                    P a ge 22 of 23
                                                                                                     Case ID: 190202728
             Case 2:19-cv-00932-CDJ Document 1 Filed 03/05/19 Page 30 of 31




                          CGUNT IV - PUNITIVE AND EXEMPLARY DAMAGES
                                AGAINST DEFENDANT NICOLLETTI

        132.     Plainti ff hereby incorporates all preceding paragraphs as if fully stated herein,

        133.     The conduct 0 I' Defendant Nicoletti was malicious, willful, and wanton.

        l3 4 .   Accordingly, Plz1intiiT rcqucsts punitive a nd cxempiary damages to deter this type       of

conduct in the filture. In the aiternative, such heedless and reckless disregard ofDennis' rights, safety and

welfare is more than momentary thoughtlessness, inadvertenee or misjudgmeut, Such unconscionable

conduct goes beyond the bounds of acceptable society, and as such Plaintiff requests punitive and

exemplary damages be awarded against Defendants Nicoielti.

        WHEREFORE, Plalintiff demands judgment in his favor, and against Defendants, jointly and

severally, pursuant to 42 U.S.C. § I983, in an amount in excess of One Hundred and Fifty Thousand

Dollars ($l50,00G.00), including interest, delay damages, costs of suit, general and specific damages,

including both survival and wrongfui death damages, exemplary damages as provided by law, attorneys1

fees under U.S.C. 1985 and 1988, und any other damages legally appropriate at the time ofjury trial.

                                                              Respectfully Submitted,



 McELDRE\V YOUNG                                              MERRITT LAW


     _/ .S. Lee Merritt                                       /§
James#1 McEIdrew, Ill, Esquire                                S. Lee Merritt, Esquire
Daniel Purtell, Esquire                                       Attorney LD. No.: 31489 l
John J. Coyle, Esquiw                                         123 S. Broad Street, Suite 2250
Attorney I.D. Nc.: 3641 1 / 310376 / 312084                   Phi1z1delphia, PA 19109
123 S. Broad Street., Suite 2250                              (215) 545-8800
Philadelphia, PA 19109                                        s1m@meni1tatlaw.com
(215) 545-8800
jj;n@|11p_e1drewvoung.com
dpur;9|1@mce1drewyoung.com.
jcoyl<~:@mg:e1drewyoung.con1                                  ArtorI1ey.v_fw° Plaintbf

Datedzjebruary 27. 2019


                                                 Page 23 ol`23
                                                                                                 Case ID: .l.9()202728
          Case 2:19-cv-00932-CDJ Document 1 Filed 03/05/19 Page 31 of 31




                                          v 1 8 R 1 F Ic A.1 3 .o n

       I, Brad Rush, as Administmtor Oi' the Estate ofleffrey Dennis, deceased, hereby states that

he is the attorney lin' the Plainti Fl' in the within matter and verifies that the statements made in the

foregoing Motion are true and correct to the best of his knowledge, information and belief. The

undersigned L1nderstauds that the statement therein is made subject to the penalties of 18 Pa.C.S,A.

Section 4904, relating to unswom falsit`\caLion to authorities.




                                                           B'r<AD RUS H, An1§ 1 61' of~tl1e M
                                                           ESTATE OF JEFFREY DENNIS, deceased


Date: February 27, 2019




                                                                                                Case ID: 190202728
